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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT INDIANA

INDIANAPOLIS DIVISION
WARREN TURNER, )
)
Plaintiff, )
)
Vv. )
) CAUSE NO. 1:21-CV-268
3M COMPANY, )
)
Defendant. )

COMPLAINT AND DEMAND FOR JURY TRIAL

The Plaintiff, Warren Turner (“Plaintiff”), by counsel, hereby brings this action
against the Defendant, the 3M Company (“Defendant”), alleging that Defendant has
violated his rights as protected by Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000¢ et seq. (“Title VII”), Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981
(“Section 1981”), and the Age Discrimination in Employment Act, 29 U.S.C. § 626(c)
(“ADEA”).

PARTIES, JURISDICTION, AND VENUE

 

1. At all relevant times, Plaintiff has resided within the Southern District of
Indiana, Indianapolis Division.

a Defendant is a corporation that operates and conducts business within the
Southern District of Indiana, Indianapolis Division.

oe Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, 28 U.S.C. §

1343, 42 U.S.C. § 1981, 42 U.S.C. § 1988, 42 U.S.C. § 2000e-5(£)(3), and 29 U.S.C. § 626(c).
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4. At all relevant times, Plaintiff was an “employee” of Defendant within the
meaning of that term under Title VII, 42 U.S.C. § 2000e(f) and the ADEA, 29 U.S.C. §
630(f).

ey At all relevant times, Defendant was Plaintiff’s “employer” within the
meaning of that term under Title VII, 42 U.S.C. § 2000e(b), and the ADEA 29 U.S.C. §
630(b).

6. Plaintiff has satisfied his obligation to exhaust his administrative
remedies, having timely filed a Charge of Discrimination (“Charge”) with the U.S.
Equal Employment Opportunity Commission (“EEOC”). Plaintiff received his
“Dismissal and Notice of Rights” (“Notice”) from the EEOC regarding his Charge,
evidencing his right to sue in federal court, and now timely files this lawsuit within
ninety (90) says after receipt of said Notice.

Us All of the events, transactions and occurrences giving rise to this lawsuit
occurred within the geographical environs of the Southern District of Indiana,
Indianapolis Division, and all parties are located therein.

8. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

FACTUAL ALLEGATIONS

2: Turner began working for Defendant in 2010 as Packaging Specialist.

10. Turner is a black male, 56 years old.

11. At all times relevant, Turner met or exceeded Defendant’s legitimate

performance expectations.
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12. In September 2019, David Glover (“Glover”) a white male who is
substantially younger than Turner, became Turner’s supervisor. Glover immediately
required Turner to put together a weekly “call plan” which prevented him from
servicing customers, as well as make a specific report of his administrative time.

13. These additional duties or requirements were not part of Turner’s job
description, and other similarly-situated, non-black or substantially younger employees
were not given these additional requirements.

14. Glover’s communication with Turner was extremely poor, and he filed an
internal “Ethics Point” complaint with Defendant on September 27, 2019. Among
Turner’s complaints was that Glover was not supporting him in his position; Turner
would call or e-mail Glover and get no responses on time-sensitive matters.

14. Turner spoke with Defendant’s internal investigator regarding his ethics
complaint on October 25, 2019 and followed up with an email on October 28, 2019.
Turner’s email outlined the disparate treatment he was being subjected to, and
constitutes statutorily-protected activity.

15. Glover continued his scrutiny of Turner, to the point of reprimanding
him over an expensed dinner while traveling.

16. In February 2020, Glover gave Turner a poor performance review for 2019
and placed him on a Performance Improvement Plan (“PIP”).

17. Turner filed another Ethics Point complaint on February 14, 2020, and also
filed a Charge of Discrimination with the EEOC. These complaints constitute

statutorily-protected activity.
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18. Throughout 2020, Glover continued to scrutinize Turner’s work, including
calling distributors Turner was working with to inquire about what Turner was doing,
and manipulating Turner’s sales numbers to make him appear he was performing
worse than he was.

19, On October 27, 2020, Turner filed a second charge with the EEOC, alleging
disparate treatment in the terms and conditions of employment and disparate
application of discipline due to his age and/or race, and in retaliation for his earlier
complaints. Turner’s EEOC Charge constitutes protected activity.

20. Defendant’s Ethics Point investigator, Katina Lane-Fomby told Turner in
November 2020 that his complaint would not be substantiated.

21. On December 2, 2020, Defendant terminated Turner.

22. Katina told Turner he would be retired beginning January 1, 2021, due to
his age.

23. Turner has suffered damages as a result of Defendant’s adverse actions
towards him.

24. All proffered, non-discriminatory reasons for the adverse employment
actions Defendant has taken against Plaintiff are pretextual.

COUNT I - RACE DISCRIMINATION
TITLE VII
24. Plaintiff hereby incorporates paragraphs one (1) through twenty-three (23)

above as if the same were set forth at length herein.
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25. Defendant took adverse employment actions against Plaintiff based on his
race, in violation of Title VII.

26. Defendant’s actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

27. Defendant’s unlawful actions were intentional, willful, and done in
reckless disregard of Plaintiff’s rights as protected by Title VII.

COUNT II - RACE DISCRIMINATION
SECTION 1981

28. Plaintiff hereby incorporates paragraphs one (1) through twenty-seven
(27) above as if the same were set forth at length herein.

25. Defendant took adverse employment actions against Plaintiff based on his
race, in violation of Title VII.

26. Defendant's actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

27. Defendant’s unlawful actions were intentional, willful, and done in
reckless disregard of Plaintiff's rights as protected by Title VIL

COUNT III - RETALIATION - TITLE VII
28. Plaintiff hereby incorporates paragraphs one (1) through twenty-eight (28)

above as if the same were set forth at length herein.
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29. Defendant took adverse employment actions against Plaintiff based on his
statutorily-protected activity in violation of Title VII when it terminated his
employment.

30. Defendant’s actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

31. Defendant's unlawful actions were intentional, willful, and done in
reckless disregard of Plaintiff’s rights under Title VII.

COUNT IV - RETALIATION - SECTION 1981

32. Plaintiff hereby incorporates paragraphs one (1) through thirty-one (31)
above as if the same were set forth at length herein.

33. Defendant took adverse employment actions against Plaintiff based on his
statutorily-protected activity in violation of Section 1981 when it terminated his
employment.

34, Defendant’s actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

35. Defendant’s unlawful actions were intentional, willful, and done in

reckless disregard of Plaintiff’s rights under Section 1981.
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COUNT V - AGE DISCRIMINATION
ADEA

36. Plaintiff hereby incorporates paragraphs one (1) through thirty-five (35) as
if the same were set forth at length herein.

37. Defendant took adverse employment actions against Plaintiff based on his
age when it terminated his employment, in violation of the ADEA.

38. Other, similarly situated employees who are substantially younger than
Plaintiff were treated more favorably than Plaintiff and were not subjected to the same
adverse actions as Plaintiff.

39. Defendant’s actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

40. Defendant's unlawful actions were intentional, willful, and done in
reckless disregard of Plaintiff’s rights under the ADEA.

COUNT VI - RETALIATION
ADEA

41. Plaintiff hereby incorporates paragraphs one (1) through forty (40) as if
the same were set forth at length herein.

42. Defendant took adverse employment actions against Plaintiff based on his
statutorily-protected activity in violation of the ADEA when it terminated his

employment.
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43, Defendant's actions, as alleged above, deprived Plaintiff of equal
employment opportunities and otherwise adversely affected the terms and conditions
of his employment.

44, Defendant’s unlawful actions were intentional, willful, and done in
reckless disregard of Plaintiff's rights under the ADEA.

REQUESTED RELIEF

WHEREFORE, the Plaintiff, Warren Turner, by counsel, respectfully requests
that the Court find for him and order that:

1. Defendant reinstate Plaintiff to his same position, salary and seniority as
prior to his termination or pay front pay and benefits to him in lieu thereof;

2. Defendant pay lost wages and benefits to Plaintiff;

oo Defendant pay compensatory damages to Plaintiff;

4, Defendant pay liquidated damages to Plaintiff;

oy Defendant pay punitive damages to Plaintiff;

6. Defendant pay pre- and post-judgment interest to Plaintiff on all
recoverable sums;

7. Defendant pay Plaintiff’s reasonable attorneys’ fees and costs incurred in

litigating this action; and
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8, Defendant pay to Plaintiff any and all other legal and/or equitable
damages this Court deems just and proper to grant.
Respectfully submitted,

Christopher L. Cassidy

Christopher L. Cassidy, #22837-32

Eric J. Hartz, #29676-49

CLEVELAND LEHNER CASSIDY

6214 Carrollton Ave., Suite 200

Indianapolis, IN 46220

Telephone: (317) 388-5424

Facsimile: (317) 947-1863

Email: chris@clcattorneys.com
eric@clcattorneys.com

Attorneys for Plaintiff
Warren Turner

DEMAND FOR JURY TRIAL

The Plaintiff, Warren Turner, by counsel, respectfully requests a jury trial as to all issues
deemed so triable.

Respectfully submitted,

s/ Christopher L. Cassidy
Christopher L. Cassidy, #22837-32
